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                             UNITED STATES DISTRICT COURT
                                 DISTRICT OF VERMONT


 TRACY L. RUBMAN; JAMES
 ELLERY BAKER; KATHY A.
 LOTHIAN,
                                                      No. 2:22-CV-181-WKS
               Plaintiffs,

v.

 BAYER AG; MONSANTO COMPANY;
 BAYER CROPSCIENCE L.P.; SOLUTIA,
 INC.; PHARMACIA, L.L.C.;
 PHARMACIA, INC.; and PHARMACIA
 CORP.

               Defendants.


     EXHIBIT INDEX TO EMERGENCY MOTION TO PRESERVE EVIDENCE,
                 REQUEST FOR EXPEDITED DISPOSITION,
                                AND
                        REQUEST FOR HEARING


Exhibit                                     Description
  A       Defendants’ proposed stipulation
  B       Nov. 11, 2022 correspondence between counsel
  C       Defendants’ Nov. 18, 2022 Subpoena
  D       Defendants’ Nov. 23, 2022 email to BSD
  E       Defendants’ Dec. 8, 2022 email to BSD
  F       BSD’s Dec. 2, 2022 letter to Defendants
  G       BSD’s Dec. 14, 2022 email to Defendants
  H       Affidavit of Wayne Hubbard
  I       ACT 2019 Limited Phase II ESA for Burlington High School, July 15, 2019
